                         IN THE UNITED STATES DISTRICT CCOURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT COOKEVILLE

Dr. JULIA GRUBER                                        )
and ANDREW SMITH,                                       )
                                                        )
         Plaintiffs,                                    )       Case No.: 2:21-cv-00039
                                                        )
vs.                                                     )       Judge Crenshaw
                                                        )       Magistrate Judge Newbern
Dr. LORI BRUCE, in her individual and                   )
official capacities,                                    )       JURY DEMAND
                                                        )
         Defendant.                                     )



                       PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


      Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Plaintiffs respectfully request this

Court to enter summary judgment in favor of them on their claim of first amendment retaliation

under 42 U.S.C. § 1983. Plaintiffs state that there is no genuine issue of material fact and that the

undisputed facts show that as a matter of law, the Defendant has violated the First Amendment of

the U.S. Constitution (42 U.S.C. § 1983). In support thereof, Plaintiffs file contemporaneously a

supporting Memorandum of Law, and Statement of Undisputed Material Facts, in accordance with

M.D. Tenn. R. 56.01.

                                                    Respectfully submitted,

                                                    /s/ Robert C. Bigelow
                                                    Robert C. Bigelow #022022
                                                    Bigelow Legal, PLLC
                                                    4235 Hillsboro Pike, Suite 301
                                                    Nashville, Tennessee 37215
                                                    rbigelow@bigelowlegal.com
                                                    (615) 829-8986




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                                    CERTIFICATE OF SERVICE

       I hereby certify that on September 28th, 2022, a copy of the Plaintiffs’ Motion for Summary

Judgment was filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt as follows:


               E. Ashley Carter #27903
               John W. Dalton #16653
               Senior Assistant Attorneys General
               Carolyn U. Smith #17166
               Deputy Attorney General
               P.O. Box 20207
               UBS Tower, 18th Floor
               Nashville, Tennessee 37202-0207
               (615) 741-8062
               John.dalton@ag.tn.gov
               Ashley.Carter@ag.tn.gov
               Carolyn.Smith@ag.tn.gov

               Attorneys for Defendant


                                                               /s/ Robert C. Bigelow_____
                                                               Robert C. Bigelow, Esq.

                                                               Attorney for Plaintiffs




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